This case was on the calendar for September 10th for oral argument, but no appearance was made for appellant. An order was made, however, allowing him fifteen days in which to file a brief and the attorney-general notified appellant's counsel to that effect. No brief has been filed and no application for extension of time has been made. We are justified in concluding, therefore, that the learned counsel for appellant can find no reasonable ground for urging a reversal of the judgment. Notwithstanding this virtual abandonment of the appeal, we have examined the record and find that the evidence is overwhelming and conclusive that the defendant committed a deliberate, cold-blooded murder, and that he was justly convicted of the offense. In fact, he admitted the crime in all its gruesome details, and the only defense was of a technical character.
The interests of justice demand the affirmance of the judgment of conviction, and it is so ordered.